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UNITF.D STATF.S BANKRUPTCY COURT
EASTERN l)lS'l`RlCT ()F NEW YORK

 

x
in re: Barry Alan Hersh, : C`ase No. I-IZ-46510-C€C

C`haptcl' ?
D€btor. ‘
_______________ x

Barry A!an Hcrsh,

 

Plaintii`["

-against- Adv. Proc. No.
15-{)1()95-<:¢:¢
U.S. Dcpartmcnf' of I£ducation, Great
Lakes Highcr Education Corporation,
Educational Credit Management
Cnrporation, Firstlnark Serviccs. LIJC1
and College Lo'.m Curpuratiun

Di:fendzuit(s),"Crcditor(s}
____________________ W_ _____X

 

AM EN l) li lJ (.`()M 1’LA1;\'_[`

 

Barry Alan Hcrsh, (“`Plzlintit`i"")_. by and through his counsel__ 'Pillshui‘y Winthl'on Shaw
Pittman LLP. against thc ("‘Dci`cndants") U.S. Di:partmc_nt uf` Educalion, (}rcat L-akcs Highcr
Education Corporation, Educational Cl‘cdit Managcmcnt Col'poratiun1 Firstnlal'k Ser\'ices,
LLC, and C()llcgc Loan Cor[)oration, hereby tiles this amended Col‘npiaint (th€ "Amended
Curnplaint"] l‘CSpCCti`ull_\_-' requestingl a hardship discharge pursuant to section 523(21)(8)(]~3) ofti‘dc

t l ofthe I..]nited States Code, l I `U.S.C. §§ 101-1532 (the “Banl<ruplcy Codc"") as ll')llows:

NATURE OF THlS ACT_[ON

 

l. f1`111:~; is an adversary proceeding to obtain an undue hardship discharge ot"
Plaintil“f`s student loan debt pursuant 10 section 523[3)(3) ot`titli: 1 1 ot`lhc Un_ilcd Statcs C.`.odc

(thc Ban|<ruptcy Code:"').

JURISDICTI()N

l 'l`his court has subject matterjurisdiction pursuant to 254 l_.T`S`.C". §§ 15? and 1333

435`2-3?1}'~'|-/-13 ?6_\¢’4

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3. 'l`his adversary proceeding is a core proceeding pursuant to 28 U,S.C. § 15? (b)(Z)

and Rule 7{]0] (:6'_) ofthe Federal Rules ot` Banl<ruptc;~»r Proeedure.
4, Venue is proper in this l)istrict pursuant to 28 U.S,C. §§ l408 and 1409.

l’.¢_t RTIES

5. Plaintit`t` is a resident ol_`the state ol`Ne\\' Yorl< and a debtor in a Chapter 'i'

bankruptcy case (_the “Chapter 'i' C.ase") before this court [Case No. l-12-46510- ceej.

6. 'l`he U.S. l)e[)artment 01`.|§ducation (""I)Ol£") is an executive department ol` the
government oi" the United States. established pursuant to the Departrnent ot l€ducation
Organiz,ation Act_, Puh. L. No. 96-33, 93 Stat. 663 (1979)_ Rulc 7{}()4{13)(4_} and (_5_) ot`the h`cc|el'al
Rulcs o'i`Banl\'.ruptcy Proecdure permits service upon the D(`)L`. to he el`l`eeted by service upon
(i) the U.S. Department ot` F.ducation. 400 Maryland Avenue, SW. Washington, DC 20202. tii)
the Attorney Gencral of the Uniteti Stat`cs, 950 Pe_nnsylvania Avenue, NW, Washington, DC___
2053{)-0001` and (iii) the United States Attorney`s ()1`1`1ee I`or the hastcrn l)istrict ol`l\"cw Yorlt,

the Civi| Process Clerl<1 2?| Cadnian Plaza hiast_. Brooi<lyn New Yot'k l IEOl.

?. Grcat Lakes Higher Edueation Corporation is a Wiscousin corporation With its

headquarters at 2401 lnternational I_anc. Madison, Wl 53?04.

8. Educational Credit Management Corporation (“EC.MC") is a non-profit
l\/linnesota eorporation, with its headquarters at 1 l t South Washington Ax-'enue. Suite 1400.

Minneapolis` Minnesota_ 55401.

9. Firstmark Scrviccs, LLC ("l"`it‘stniarl<") is a Nebraska eonipan_\', With is
headquarters at 2101 Wooddale Drive. Saiut PauL Minnesota. 55125-2989, and is a successor
Scrviccr to ACS l;`dueational Sc_rviccs with respect to the C`.o|lcge [.oan Corporalion loan

described below.

lt). Collegc Loan Corporation is a Nevada Corporationq With its headquarters at

10 l 00 West Charleston Boulevard Suitc 130, l_as \»'egas, .\lV, 89135.

l\.)

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BACK G_ROUNI]

l l. l)laintil"l"s Wcrl< experience is as t`ollows: l"lainlil`l` has been unemployed since
August 2010._ With the exception of two short~tcrm employments (three and two months,
rcspectively, in 2012) as a l’ara-'l`ransil and Liniousine driven Prior to August 2010, Plaintit`t`
was a teacher With the NYC Dept ol`Education. t`ron‘t 2000 to 2()1(), and prior had been gainfully

employed Full-tiine in other industries

12. Plaintit`i"'s educational history is as t"ollows: (a} C`LlNY-Bi'tioklyii College, 2006-
2()()8. Master ofEducatiou, l\/Tiddle School Science (_incornplete)_. 30 credits in Middle School
education and science courseworl<t; (b) SUNY College at (')neonta___ 1971-1981 , Bachelor Ot`

Science (MS`) in Businessfliconomics.

,.`

l_). I"'lainlil`t"S medical history is as follows: Plaintitt has been diagnosed With
depression and anxiety disorder. l-le is currently under treatment for sainc___ and has been so since
201{}. His treatment includes regularly scheduled ps)-’chothcl'apy sessions and the prescription ol"

psychotropic medication(s).

14. Plaintitt"s current situation is as follows: Plaintii"t`s mental condition is causing
him great pain and anguish, a complete lack ot selt`~esteem and contidence. which in turn has
rendered his search t`or employment unsuccessful Plaintit`l` has exhausted all ot his savings
including lRA and Teachers Retirement System accounts Plaintit`t` has no cash, owns no real

cstate__ and is subsisting due to the generosity of his maternal aunt, Wit'h whom he lives.

15. Plaintit`t"s student loan debt consists ot`tive |"l JUS loans ("'PLUS l;oa.ns"`) and a
student loan obtained t`ron'l College Loan Corporation, serviced by l*`irstmarl\' (the "Firstmarl<
Loan"), all originated between 2006 and 2010. /\s ot Septernber 101 2012 {_the date on which
Plaintit`t tile-d his bardo'uptcy petition), ljlaintit`t`had the i`ollo\A-'ing outstanding balances: (_1 `} the
DOE Pl_,US [Joans, serviced by Great l_al<es l-ligher Education Cot'poration, had outstanding
balances ol`$l ,5 30.0¢1, $6,0]6.52, and $4,5?2.65: (2) the F,Cl\/l(.` Pl_,US l,oans had outstanding
balances ot`$l?_@f§ 1 . l 9_. and $5,2{]?.43_; and (3) the l"irstnnu'k Loan had an outstanding balance ot
$4,103.32. 'l`hcre.l`orc_. Plaintit`t"s total student loan debt. as ol` Scptcl'nber 10_._ 2()1_?., was
$39,425.5[}. Plaintit`l` began repayment ot"lhc loans in _lanuaiy 2001 staying current y\-'ith

payments until October 201(]._ after losing his teaching position

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CAUSE OF ACTION

16. Plaintiff` believes he has pertinent grounds to request relief from the court due to
numerous circumstances, which are: (l) that Plaintiff stayed current with payments beginning
January 2007 through October 2010, and had full intent to repay the loans in fu]l, until his
employment and medical conditions changed radically, (2) that Plaintiff made a good faith effort
to continue payments, When able, by applying for and being granted unemployment deferments
and forbearances, (3) the unlikelihood of Plaint;iff finding gainful employment in the near future,
under his current mental and emotional conditionsJ (4) the fulther unlikelihood of Plaintitf, age
56, of finding employment in any capacity approaching his past endeavors, and earning potential,
(5) the overwhelming burden of monthly and long-term paymentsJ to satisfy the loans, Would
effectually nullify any potential for Plaintift` to regain any semblance of quality of life, even if he

were able to find employment in a diminished capacity.

PRAYER FOR RELIEF

17. WHEREI"ORE, Plaintiff respectfully requests this court grant his request for
undue hardship discharge of his student loan debt pursuant to section 523(a)(8) of title 11 of the
United States Code.

PlLlsSBURY Wll\l'l`HROP Sl-lAW PlTTMAN LLP

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